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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION

 In Re:                                          Case No. 19-81834

 Jonathan L Call                                 Chapter 13

 Debtor.                                         Hon. Judge Thomas M. Lynch

                                    CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice of
Postpetition Mortgage Fees, Expenses, and Charges upon the above-named parties by electronic
filing or, as noted below, by placing same in a properly addressed and sealed envelope, postage
prepaid, and depositing it in the United States Mail at 394 Wards Corner Rd., Suite 180,
Loveland, OH 45140 on January 31, 2022, before the hour of 5:00 p.m.

          Jacob E Maegli, Debtor’s Counsel
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          Lydia Meyer, Chapter 13 Trustee
          ecf@lsm13trustee.com

          Patrick S Layng, U.S. Trustee
          ustpregion11.md.ecf@usdoj.gov

          Jonathan L Call, Debtor
          11700 W. Canada Rd
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 Dated: January 31, 2022                         Respectfully Submitted,

                                                 /s/ Molly Slutsky Simons
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